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                         IN THE UNITED STATES DISTRICT COURT
                           OF THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 PARALLEL NETWORKS, LLC                        §
                                               §
 V.                                            §             No. 2:09CV172
                                               §
 MICROSOFT CORPORATION                         §

      .                                FINAL JUDGMENT

          In accordance with the Court’s Order entering the parties’ Joint Stipulation of Dismissal

 Without Prejudice, it is hereby ORDERED, ADJUDGED, and DECREED that final judgment be

 entered in this case.

          All relief not previously granted is hereby DENIED.

          It is SO ORDERED.

          SIGNED this 8th day of August, 2012.




                                                          ____________________________________
                                                          MICHAEL H. SCHNEIDER
                                                          UNITED STATES DISTRICT JUDGE
